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United States District Court                                                   REBcfl,rFD
Office of the Clerk
316 North Robert Street
St. Paul, MN.55101
                                                                       ",uoof$$.|#flo,:'
Dated: 8124/21

Dear Clerk,

Re: Nicolaison v Johnston # 2l-cv-1417 (PJS/WCW)

  I have receive numerous letters of instruction from the Clerk in regard to the filing    of
this 42 USC 1983.

  I initially filed with the Court 2 complaints, with 13 exhibits in support,that included
the video "Country Music" that is the subject of the constitutional complaint.

I had included a Marshall Form for service, as well. The Marshall form was returned
along with a July 12,2021letter from you saying "Your application to Proceed in Forma
Pauperis is still pending... You do not need to submit a U.S Marhall Service Form unless
our offrce sends you a letter rgquesting that.""

I next received an Order signed by MagistratqBlizabeth Cowan lVright dated July 29,
2021, that the Court had Granted in forma pauperis, and denying Appointment of
Counsel.

In a notice of electronic filings of June 17,2021, indicated that "No Summons" had been
requested. I did in fact submit a Summons with the original filings to the Court. [See:
enclosed copies of filings].
                                        ':
I am including another clean copy of the summons for service.

Until the complaint is served by the Marshall, I am unable to proceed for relief. I am
having a hard time understanding what the problems are? The fact that I am acting pro
see, in the past the Court would assist in perfecting the service, such as creating the
SUMMONS, and mail the Marshall fonn for service. As I indicated, I did include a
Marshal Form with the filing of which was returned, with direction that until your office
sent to me a Marshall form, it would not be served.

Will you please have the complaint and it's attached exhibits in support. I sent 2 copies
of the complaint rvith the exhibits to your office, One was intended to be served by the
Marshalls upon Defenddnt Johnston, and the other was for the Court files.

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                                                                              U.S. DISTRICT OOURT ST PAUL
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 I would have called you, but the institution telephone service here, is automated, and will
not put through to an automated answering service, which I believe is intentional to
deprive me my Right of access to the Court. I was told, the we must write. It is
questionable as to why you and MSOP place these road blocks in our access to relief.

Sincerelv.
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t^J'"^4"r.   A/"J.-
Wavhe Nicolaison
Plaintiff Pro se
1111   HWY    73
Moose Lake, MN. 55767
